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 4
                                       UNITED STATES DISTRICT COURT
 5                                    WESTERN DISTRICT OF WASHINGTON
                                                AT SEATTLE
 6
         DONALD E. MORISKY,
 7                                                                  No. 2:21-CV-1301-RSM-DWC
 8                                          Plaintiff,
                 v.                                                 ORDER ADOPTING REPORT AND
 9                                                                  RECOMMENDATION
         MMAS RESEARCH LLC, et al.,
10
                                            Defendants.
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12
                The Court, having reviewed the Report and Recommendation of Magistrate Judge David
13
     W. Christel, objections to the Report and Recommendation1, and the remaining record, does
14
     hereby find and ORDER:
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16              (1)      The Court adopts the Report and Recommendation.

17              (2)      Plaintiff’s Renewed Motion for Sanctions (Dkt. 233) is granted-in-part as follows:

18                        The Court imposes the following sanctions: Defendants’ counterclaims are
                          dismissed with prejudice and Defendants are limited in the defenses presented at
19
                          trial; the destroyed ESI (the license and settlement agreements) are presumed to
20                        be unfavorable to Defendants and an adverse jury instruction will be provided to
                          the jury that the destroyed agreements were unfavorable to Defendants; and, at
21                        trial, adverse jury instructions will be provided so that any lack of proof should
                          be inferred favorably to Plaintiff based on Defendants’ failure to produce
22                        discovery.
23
                (4)      Defendants’ Motion for Reconsideration, Dkt. #256, filed within Defendants’
24                       objections and on the same day as the noting date for the instant Report and
                         Recommendation, thus before any final decision or order, is DENIED as
25                       premature and improper.
26
     1
         The Court notes that Defendants’ objections, Dkt. #256, were filed beyond the due date of September 3, 2024.
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 1       (3)   Plaintiff may move for the Court to impose costs and fees for bringing the motion
               for sanctions.
 2
         (4)   This case will proceed immediately to trial.
 3
         (5)   The Clerk of Court is directed to terminate the referral to U.S. Magistrate Judge
 4
               Christel.
 5
         (6)   The Clerk is directed to send copies of this Order to Plaintiff, counsel for
 6             Defendants, and to the Hon. David W. Christel.
 7

 8       DATED this 10th day of September, 2024.

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                                                      RICARDO S. MARTINEZ
11                                                    UNITED STATES DISTRICT JUDGE
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     ORDER ADOPTING REPORT AND RECOMMENDATION- 2
